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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                       *          CRIMINAL NO. 24-105

                       v.                       *          SECTION: “D”(1)

 RYAN J. HARRIS, et al.                         *

                                         *      *      *

                                             ORDER

          Considering the foregoing Motion for Leave to File Government’s Memorandum in

Opposition to Defendants’ Motion to Sever in Excess of Page Limitations, accordingly,

          IT IS ORDERED that the Government=s motion is hereby GRANTED. The

Government’s Memorandum in Opposition to Defendants’ Motion to Sever shall be filed in the

record.

          New Orleans, Louisiana, this ______ day of May, 2025.




                                             _________________________________________
                                             HONORABLE WENDY B. VITTER
                                             UNITED STATES DISTRICT JUDGE
